                                                                                         Case 3:17-cv-00600-LB Document 117-1 Filed 09/06/19 Page 1 of 6



                                                                                1   DALE L. ALLEN, JR., State Bar No. 145279
                                                                                    dallen@aghwlaw.com
                                                                                2   PHILIP J. DOWNS, JR., State Bar No. 302939
                                                                                    pdowns@aghwlaw.com
                                                                                3   ALLEN, GLAESSNER, HAZELWOOD & WERTH, LLP
                                                                                    180 Montgomery Street, Suite 1200
                                                                                4   San Francisco, CA 94104
                                                                                    Telephone:     (415) 697-2000
                                                                                5   Facsimile:     (415) 813-2045

                                                                                6   Attorneys for Defendants
                                                                                    COUNTY OF NAPA, COUNTY OF NAPA SHERIFF’S
                                                                                7   DEPARTMENT, DEPUTY TIMOTHY REID

                                                                                8                                  UNITED STATES DISTRICT COURT
                                                                                9                               NORTHERN DISTRICT OF CALIFORNIA
ALLEN, GLAESSNER, HAZELWOOD & WERTH, LLP




                                                                               10
                                           180 Montgomery Street, Suite 1200
                                            San Francisco, California 94104




                                                                               11   RENEE LEPAGE, an individual,                    Case No.: 3:17-cv-00600-LB
                                                                               12                           Plaintiff,              Magistrate Judge Laurel Beeler
                                                                               13            v.                                     DEFENDANTS’ OPPOSITION TO
                                                                                                                                    PLAINTIFF’S MOTION IN LIMINE, #3 TO
                                                                               14   COUNTY OF NAPA; COUNTY OF                       EXCLUDE AMOUNT PAID
                                                                                    NAPA SHERIFF’S DEPARTMENT;
                                                                               15   AND DEPUTY TIMOTHY REID,                        Trial:   October 15, 2019
                                                                               16                           Defendants.
                                                                               17
                                                                                             Defendants COUNTY OF NAPA; COUNTY OF NAPA’S SHERIFF’S DEPARTMENT;
                                                                               18
                                                                                    and DEPUTY TIMOTHY REID (“Defendants”) oppose Plaintiff’s Motion in Limine regarding
                                                                               19
                                                                                    the applicability of Howell v. Hamilton Meats & Provisions, 52 Cal. 4th 541 (Cal. 2011) to
                                                                               20
                                                                                    federal court litigation. For the reasons stated below, Defendants believe Howell applies.
                                                                               21
                                                                                    I.       BACKGROUND: HOWELL
                                                                               22
                                                                                             In Corenbaum v. Lampkin, 215 Cal. App. 4th 1308 (2013), the California Second District
                                                                               23
                                                                                    Court Appeal concisely summarized the Howell opinion:
                                                                               24

                                                                               25            The California Supreme Court in Howell, supra, 52 Cal.4th 541, 129 Cal.Rptr.3d 325, 257
                                                                                             P.3d 1130, held that an injured plaintiff whose medical expenses are paid by private
                                                                               26            insurance can recover damages for past medical expenses in an amount no greater than the
                                                                                             amount that the plaintiff's medical providers, pursuant to prior agreement, accepted as full
                                                                               27            payment or, to the extent that payment is still owing, the amount that the medical
                                                                                             providers had agreed to accept as full payment for the services provided. The plaintiff's
                                                                               28

                                                                                                                                      1                              3:17-CV-00600-LB
                                                                                                                                                                 OPPOSITION TO MIL #3
                                             335433.1
                                                                                        Case 3:17-cv-00600-LB Document 117-1 Filed 09/06/19 Page 2 of 6



                                                                                1              pecuniary loss is limited to the amount paid or incurred for past medical services, so the
                                                                                               plaintiff cannot recover damages in excess of that amount. Howell approved the general
                                                                                2              rule from Hanif, supra, 200 Cal.App.3d 635, 640–641, 246 Cal.Rptr. 192, and Nishihama,
                                                                                               supra, 93 Cal.App.4th 298, 306–307, 112 Cal.Rptr.2d 861, in this regard.
                                                                                3
                                                                                    Corenbaum, supra, at 1324-1325 (internal citations omitted). The California Supreme Court
                                                                                4
                                                                                    found its ruling did not violate the collateral source rule or undermine the rule’s policy goals, for
                                                                                5
                                                                                    three reasons: (1) commercially negotiated price contracts between insurers and providers does
                                                                                6
                                                                                    not constitute a gratuitous service1; (2) there is no “windfall” to the tortfeasor because “it is not
                                                                                7
                                                                                    possible to say generally that providers' full bills represent the real value of their services, nor that
                                                                                8
                                                                                    the discounted payments they accept from private insurers are mere arbitrary reductions”2; and (3)
                                                                                9
ALLEN, GLAESSNER, HAZELWOOD & WERTH, LLP




                                                                                    the “negotiated rate differential” is not an insurance benefit (because a plaintiff never actually
                                                                               10
                                                                                    incurs liability for the full amount charged by the provider)3. The state high court concluded its
                                           180 Montgomery Street, Suite 1200
                                            San Francisco, California 94104




                                                                               11
                                                                                    ruling was consistent with the collateral source rule, as a plaintiff still “recovers the amounts paid
                                                                               12
                                                                                    on her behalf by her health insurer as well as her own out-of-pocket expenses. No credit against
                                                                               13
                                                                                    the tortfeasor's liability and no deduction from the damages which the plaintiff would otherwise
                                                                               14
                                                                                    collect from the tortfeasor is allowed for the amount paid through insurance.”4
                                                                               15
                                                                                    II.        HOWELL IN FEDERAL COURT
                                                                               16
                                                                                               Defendants’ research did not uncover any Ninth Circuit or Supreme Court authority on
                                                                               17
                                                                                    this issue. Within California’s four federal District Courts, there have been at least eight (8) cases
                                                                               18
                                                                                    regarding Howell’s application to federal proceedings. In chronological order, they are:
                                                                               19
                                                                                               1. Valiavicharska v. Tinney, CV-10-4847-JSC (N.D. Cal. February 2, 2012)5
                                                                               20
                                                                                               2. Hill v. Novartis Pharmaceuticals Corp., 944 F. Supl. 2d 943 (E.D. Cal. May 10, 2013)
                                                                               21
                                                                                               3. Pooshs vs. Phillip Morris USA, Inc., 2013 WL 2253780 (N.D. Cal. May 22, 2013)
                                                                               22
                                                                                               4. Forbes v. County of Orange, 2013 WL 12165672 (C.D. Cal. August 4, 2013)
                                                                               23

                                                                               24
                                                                                    1
                                                                               25       Howell, supra, at 557-559.
                                                                                    2
                                                                                        Howell, supra, at 560-562.
                                                                               26   3
                                                                                        Howell, supra, at 563-566.
                                                                               27   4
                                                                                        Howell, supra, at 565 (internal quotations and citations omitted).
                                                                                    5
                                                                               28       Defendants could not locate a Westlaw cite for this case, so a copy of it is attached as Ex. “A” to this brief.

                                                                                                                                                  2                                    3:17-CV-00600-LB
                                                                                                                                                                                   OPPOSITION TO MIL #3
                                             335433.1
                                                                                        Case 3:17-cv-00600-LB Document 117-1 Filed 09/06/19 Page 3 of 6



                                                                                1              5. Howard v. County of Riverside, 2014 WL 12589655 (C.D. Cal. June 3, 2014)

                                                                                2              6. Baltazar v. Target Corporation, 2014 WL 12599626 (S.D. Cal. October 22, 2014)

                                                                                3              7. Moreno v. Ross Island Sand & Gravel Co., 2015 WL 6690067 (E.D. Cal. October 29,

                                                                                4                   2015)

                                                                                5              8. Avila v. California, 2018 WL 836440 (E.D. Cal. February 13, 2018)

                                                                                6              The Districts Courts are split. Five apply Howell; three do not. The five cases in support

                                                                                7   are Hill, Pooshs, Baltazar, Valiavicharska, and Avila. The three opposing cases are Forbes and

                                                                                8   Howard, and Moreno.

                                                                                9              “[A] district court opinion does not have binding precedential effect.” NASD Dispute
ALLEN, GLAESSNER, HAZELWOOD & WERTH, LLP




                                                                               10   Resolution, Inc. v. Judicial Council of State of Cal., 488 F.3d 1065, 1069 (9th Cir. 2007). See also
                                           180 Montgomery Street, Suite 1200
                                            San Francisco, California 94104




                                                                               11   United States v. Ensminger, 567 F.3d 587, 591 (9th Cir.2009), citing McGinley v. Houston, 361

                                                                               12   F.3d 1328, 1331 (11th Cir.2004) for the language “[t]he general rule is that a district judge's

                                                                               13   decision neither binds another district judge nor binds him, although a judge ought to give great

                                                                               14   weight to his own prior decisions.”

                                                                               15              A.       Supporting Cases
                                                                               16              In Avila – a Section 1983 case issued last year – Chief District Judge O’Neill ruled that

                                                                               17   “[t]he actual damages for medical bills is the amount the medical professional agrees to accept in

                                                                               18   full payment for the medical services.” Avila, supra, at *6, as clarified on reconsideration, No.

                                                                               19   115CV00996LJOEPG, 2018 WL 1763250 (E.D. Cal. Apr. 12, 2018)6 The Court permitted those

                                                                               20   amounts to be presented, “but not how the amounts were determined. There will be no mention of
                                                                               21   health insurance by either side, nor any mention of amounts charged if those amounts are

                                                                               22   different from the amounts actually paid to satisfy the medical billing in its entirety.” Id.

                                                                               23              In Valiavicharska, another Section 1983 case, the Court found the Howell rule “makes

                                                                               24   common sense.” (Valiavicharska, p. 4).

                                                                               25              B.       Opposing Cases Distinguishable
                                                                               26              Forbes, Howard, and Moreno are all distinguishable.
                                                                               27
                                                                                    6
                                                                               28       The clarified ruling did not relate to the damages issue.

                                                                                                                                                    3                  3:17-CV-00600-LB
                                                                                                                                                                   OPPOSITION TO MIL #3
                                             335433.1
                                                                                      Case 3:17-cv-00600-LB Document 117-1 Filed 09/06/19 Page 4 of 6



                                                                                1                  1.      Moreno

                                                                                2          This is a maritime case.

                                                                                3                  2.      Forbes

                                                                                4          The Forbes Court denied a defense motion limiting past medical expenses to the amount

                                                                                5   paid. Forbes, supra, at * 11. It found that “[u]nder federal common law, as opposed to California

                                                                                6   law, Plaintiff is entitled to recover the full amount of medical expenses charged by his providers,

                                                                                7   not merely the reduced amounts paid by Medi-Cal.” Id. In deciding that federal common law is

                                                                                8   different from Howell, Forbes cited two cases: one from the Seventh and one from the Eighth. Id.

                                                                                9   Those citations are unpersuasive.
ALLEN, GLAESSNER, HAZELWOOD & WERTH, LLP




                                                                               10          Perry v. Larson, 794 F.2d 279 (7th Cir. 1986) concerned whether or not to reduce an
                                           180 Montgomery Street, Suite 1200




                                                                                    economic damages award "by the amount of unemployment compensation” the plaintiff received.
                                            San Francisco, California 94104




                                                                               11

                                                                               12   Perry, supra, at 285. The Court said no to any reduction. Id., at 286. Gill v. Maciejewski, 546

                                                                               13   F.3d 557 (8th Cir. 2008) concerned whether or not to reduce an economic damages award by the

                                                                               14   amount the plaintiff received from his insurer to cover medical expenses. Gill, supra, at 564-565.

                                                                               15   In other words, the defendant sought to have the verdict reduced by the past medical expenses

                                                                               16   paid. The Court said no, citing the common law collateral source rule. Gill, supra, at 564-565.

                                                                               17          Neither Perry nor Gill addresses the particular issue raised in Howell (or here): whether to

                                                                               18   permit the gross amount of past medical charges. Rather, the Seventh and Eighth Circuit opinions

                                                                               19   addressed whether to exclude the amount the amount actually paid in unemployment

                                                                               20   compensation/medical expenses. Such is not in dispute here. Both sides agree that, at the very

                                                                               21   least, the amount of medical expenses actually paid is admissible.

                                                                               22          Because neither Perry nor Gill stand for the proposition which Forbes purports, Forbes is

                                                                               23   inapposite.

                                                                               24                  3.      Howard

                                                                               25          The Howard Court denied a defense motion limiting past medical expenses to the amount

                                                                               26   paid. Howard, supra, at * 6. It found the “Howell method of calculating the “reasonable value” of

                                                                               27   medical expenses is inconsistent with the federal common law collateral source rule.” Id., at * 5.

                                                                               28   Specifically, the Court rejected “Howell's underlying premise that a negotiated rate differential is

                                                                                                                                     4                               3:17-CV-00600-LB
                                                                                                                                                                 OPPOSITION TO MIL #3
                                             335433.1
                                                                                      Case 3:17-cv-00600-LB Document 117-1 Filed 09/06/19 Page 5 of 6



                                                                                1   not a ‘benefit conferred on the injured party.’” Id. at *6. In reaching this conclusion, the Court

                                                                                2   relied upon Section 911, 920A, and 924 of the Second Restatement of Torts. Id. at *5-6. Those

                                                                                3   are the same provisions relied upon by the California Supreme Court in Howell. Howard is

                                                                                4   unpersuasive because, for the reasons stated below, the California Supreme Court’s interpretation

                                                                                5   of the Restatement is the correct one.

                                                                                6          Howard has not been cited by any District Court.

                                                                                7          C.      The Second Restatement
                                                                                8          Section 911 of the Second Restatement of Torts concerns the reasonable value of services,

                                                                                9   with comment h explaining that “[i]f ... the injured person paid less than the exchange rate, he can
ALLEN, GLAESSNER, HAZELWOOD & WERTH, LLP




                                                                               10   recover no more than the amount paid, except when the low rate was intended as a gift to him.”
                                           180 Montgomery Street, Suite 1200
                                            San Francisco, California 94104




                                                                               11   Howell, supra, at 556 (citing the Second Restatement of Torts). Section 920A of the Second

                                                                               12   Restatement applies the collateral source rule to gratuitous payments and services. Id. at 557-558.

                                                                               13   Section 924 of the Second Restatement provides for the recovery of reasonable medical expenses.

                                                                               14   Id. at 556. Howell finds Section 911 persuasive and the other provisions not inconsistent with it;

                                                                               15   Howard finds the opposite.

                                                                               16          Section 911 plainly states that recovery is limited to the amount paid or the exchange rate,

                                                                               17   whichever is lower. And while Section 920A does apply to gratuitous or donated services, Howell

                                                                               18   persuasively argues why the negotiated amounts do not qualify as such: the amount charged but

                                                                               19   not ultimately paid is not some charitable gift from the provider to the insurer or the insured.

                                                                               20   Rather, the differential amount reflects the arms-length commercial negotiations between an
                                                                               21   insurer provider and a health-care provider, with the amount ultimately paid reflecting the results

                                                                               22   of such negotiation.

                                                                               23          Section 924 does not contradict Section 911. As explained by the California Supreme

                                                                               24   Court: “[c]ontrary to the view of the dissent, section 924 of the Restatement, which provides that

                                                                               25   a tort plaintiff may recover “reasonable medical and other expenses,” expresses no different

                                                                               26   principle. To be recoverable as “expenses,” monies must generally have been expended, or at
                                                                               27   least incurred; that they must also be reasonable does not alter this general rule.” Howell, supra,

                                                                               28   at 556 (internal citations omitted). Howell goes on to reference the reporter’s note for Section

                                                                                                                                      5                               3:17-CV-00600-LB
                                                                                                                                                                  OPPOSITION TO MIL #3
                                             335433.1
                                                                                      Case 3:17-cv-00600-LB Document 117-1 Filed 09/06/19 Page 6 of 6



                                                                                1   924: “[t]he reporter's note for section 924 (Rest.2d Torts (appen.) § 924, reporter's notes, p. 445),

                                                                                2   cites in support of its rule, among other cases, Birmingham Amusement Co. v. Norris (1927) 216

                                                                                3   Ala. 138, 112 So. 633, which stated, quoting an earlier Alabama case, that [w]hile it is true that

                                                                                4   the defendant is not liable for any more than the reasonable value of the services of a physician,

                                                                                5   yet neither is it liable for any more than has actually been paid or is due. So it is necessary to

                                                                                6   prove both...” Howell, supra, at 556, n. 5.

                                                                                7          Howard does not critically analyze or explain why the negotiated differential constitutes a

                                                                                8   gratuitous service or benefit received; it just concludes so. Howard, supra, at * 6.

                                                                                9          Conclusion
ALLEN, GLAESSNER, HAZELWOOD & WERTH, LLP




                                                                               10          For the above-stated reasons, Defendants believe that Plaintiff’s recoverable past medical
                                           180 Montgomery Street, Suite 1200
                                            San Francisco, California 94104




                                                                               11   expenses are limited to the amounts actually paid. In the event the court is unpersuaded as to the

                                                                               12   federal substantive law issues under the 4th amendment allegations, it must be pointed out that

                                                                               13   plaintiff also has a substantive negligence allegation under California law where Howell does

                                                                               14   apply to her damages claim. In the event the jury returns a verdict finding no federal law liability,

                                                                               15   but state negligence liability, allowing proof of billing in the absence of actual evidence of bills

                                                                               16   owed or paid, has the substantial risk of prejudicing the jury on the damages, both general and

                                                                               17   special.

                                                                               18          Should the court be inclined to allow billing records evidence in plaintiff’s case in chief,

                                                                               19   defendant request leave to file a supplemental motion to bifurcate the liability phase from

                                                                               20   damages to ensure a verdict free from undue prejudice in assessment of damages.
                                                                               21
                                                                                    Dated: September 5, 2019                   ALLEN, GLAESSNER,
                                                                               22                                              HAZELWOOD & WERTH, LLP
                                                                               23

                                                                               24                                              By:___Dale L. Allen, Jr._______________
                                                                                                                                  DALE L. ALLEN, JR.
                                                                               25                                                 PHILIP J. DOWNS, JR.
                                                                                                                                  Attorneys for Defendants
                                                                               26                                                 COUNTY OF NAPA, COUNTY OF NAPA
                                                                                                                                  SHERIFF’S DEPARTMENT, DEPUTY
                                                                               27                                                 TIMOTHY REID
                                                                               28

                                                                                                                                       6                               3:17-CV-00600-LB
                                                                                                                                                                   OPPOSITION TO MIL #3
                                             335433.1
